Case 1:20-cv-01142-JTN-RSK ECF No. 28, PageID.383 Filed 03/30/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 THE STATE OF MICHIGAN, GOVERNOR
 OF THE STATE OF MICHIGAN, and
 MICHIGAN DEPARTMENT OF NATURAL                       No. 1:20-cv-01142-JTN-RSK
 RESOURCES,

        Plaintiffs,

 v.

 ENBRIDGE ENERGY, LIMITED                             HON. JANET T. NEFF
 PARTNERSHIP; ENBRIDGE ENERGY
 COMPANY, INC.; and ENBRIDGE
 ENERGY PARTNERS, L.P.,

        Defendants.


                                     PROOF OF SERVICE
       On March 30, 2021, I caused to be sent via email to the parties listed below a copy of

Motion For Leave To File Instanter The Amicus Curiae Brief Of The Great Lakes Business

Network And Great Lakes Environmental Organizations In Support Of Plaintiff’s Motion To

Remand and, Exhibit 1, Amicus Curiae Brief Of The Great Lakes Business Network And Great

Lakes Environmental Organizations In Support Of Plaintiff’s Motion To Remand. The parties

have agreed to accept service by e-mail and that service via first-class mail is not necessary here.


 Robert P. Reichel (P31878)                          Peter H. Ellsworth (P23657)
 Daniel P. Bock (P71246)                             Jeffery V. Stuckey (P34648)
 Assistant Attorneys General                         Dickinson Wright PLLC
 Attorneys for Plaintiffs                            Attorneys for Defendants
 Environment, Natural Resources, and                 123 w. Allegan St., Ste 900
 Agriculture Division                                Lansing, MI 48933
 P.O. Box 30755                                      (517) 371-1730
 Lansing, MI 48909                                   pellsworth@dickinsonwright.com
 (517) 335-7664                                      jstuckey@dickinsonwright.com
 reichelb@michigan.gov
 bockd@michigan.gov

                                                 1
Case 1:20-cv-01142-JTN-RSK ECF No. 28, PageID.384 Filed 03/30/21 Page 2 of 2




 Phillip J. DeRosier (P55595)                       John J. Bursch (P57679)
 Dickinson Wright PLLC                              Bursch Law PLLC
 Attorney for Defendants                            Attorney for Defendants
 500 Woodward Avenue                                9339 Cherry Valley Ave., SE, #78
 Suite 4000                                         Caledonia, MI 49316
 Detroit, MI 48226                                  (616) 450-4235
 (313) 223-3866                                     jbursch@burschlaw.com
 pderosier@dickinsonwright.com


 David H. Coburn
 William T. Hassler
 Alice Loughran
 Joshua Runyan
 Steptoe & Johnson LLP
 Attorneys for Defendants
 1330 Connecticut Avenue, N.W.
 Washington, D.C. 20036
 (202) 429-3000
 dcoburn@steptoe.com
 whassler@steptoe.com
 aloughran@steptoe.com
 jrunyan@steptoe.com



I declare that the statements above are true to the best of my information, knowledge, and belief.

March 30, 2021                                               Respectfully submitted,

                                                             _/s/ Margrethe Kearney __________
                                                             Margrethe Kearney (P80402)
                                                             Environmental Law & Policy Center
                                                             116 Somerset Dr. NE
                                                             Grand Rapids, MI 49503
                                                             T: (773) 726-8701
                                                             F: (312) 795-3730
                                                             mkearney@elpc.org




                                                2
